18-01596-smb         Doc 10       Filed 11/06/18       Entered 11/06/18 17:26:21                Main Document
                                                      Pg 1 of 3


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:
                                                                    Chapter 11
INTERNATIONAL SHIPHOLDING
CORPORATION, et al.,1                                               Case No. 16-12220 (SMB)

                                    Debtors.                        (Jointly Administered)

ROBERT MICHAELSON, in his capacity as
TRUSTEE OF THE INTERNATIONAL
SHIPHOLDING GUC TRUST,                                              Adv. Proc. No. 18-0596 (SMB)

                                    Plaintiff,

         v.

FAM MARINE SERVICES, INC.,

                                    Defendant.


                                         AFFIDAVIT OF SERVICE


STATE OF NEW YORK  )
                   ) ss:
COUNTY OF NEW YORK )

         La Asia S. Canty, being duly sworn, affirms, deposes and says:

         I am over the age of eighteen years, am employed by Pachulski Stang Ziehl & Jones LLP

and am not a party to the action herein.

         On November 6, 2018, I caused the Motion for Default Judgment Against FAM Marine

Services, Inc. [Docket No. 9] to be served upon the parties listed on the annexed Service List by

1
  The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
International Shipholding Corporation (9662); Enterprise Ship Co. (9059); Sulphur Carriers, Inc. (8965); Central
Gulf Lines, Inc. (8979); Coastal Carriers, Inc. (6278); Waterman Steamship Corporation (0640); N.W. Johnsen &
Co., Inc. (8006); LMS Shipmanagement, Inc. (0660); U.S. United Ocean Services, LLC (1160); Mary Ann Hudson,
LLC (8478); Sheila McDevitt, LLC (8380); Tower LLC (6755); Frascati Shops, Inc. (7875); Gulf South Shipping
PTE LTD (8628); LCI Shipholdings, Inc. (8094); Dry Bulk Australia LTD (5383); Dry Bulk Americas LTD (6494);
and Marco Shipping Company PTE LTD (4570).




DOCS_NY:38316.3 42331/003
18-01596-smb        Doc 10   Filed 11/06/18    Entered 11/06/18 17:26:21     Main Document
                                              Pg 2 of 3


First Class Mail and by Certified Mail, Return Receipt Requested postage paid and deposited

with the U.S. Postal Service.


                                                     /s/ La Asia S. Canty
                                                    La Asia S. Canty

SWORN TO AND SUBSCRIBED before me this
6th day of November, 2018

/s/ G. Karen Brown
G. KAREN BROWN
NOTARY PUBLIC, STATE OF NEW YORK
Registration No. 01BR6159074
Qualified in Queens County
Commission Expires January 16, 2019




DOCS_NY:38316.3 42331/003
  18-01596-smb         Doc 10   Filed 11/06/18    Entered 11/06/18 17:26:21    Main Document
                                                 Pg 3 of 3


                                          SERVICE LIST

FIRST CLASS MAIL                                     CERTIFIED MAIL, RETURN RECEIPT
FAM Marine Services, Inc.                            REQUESTED
Attn: Kostas Papageorgio, President & R/A            FAM Marine Services, Inc.
6601 Springer Street                                 Attn: Kostas Papageorgio, President & R/A
Houston, TX 77087-3449                               6601 Springer Street
                                                     Houston, TX 77087-3449


FIRST CLASS MAIL                                     CERTIFIED MAIL, RETURN RECEIPT
FAM Marine Services, Inc.                            REQUESTED
Attn: Mary Ann Hendren, Secretary                    FAM Marine Services, Inc.
2910 Ocena Mist Court                                Attn: Mary Ann Hendren, Secretary
Seabrook, TX 77586                                   2910 Ocena Mist Court
                                                     Seabrook, TX 77586




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